891 F.2d 292
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Ronald PHILLIPS, Plaintiff-Appellant,v.SECRETARY OF HEALTH AND HUMAN SERVICES, Defendant-Appellee.
    No. 89-3259.
    United States Court of Appeals, Sixth Circuit.
    Dec. 5, 1989.
    
      Before KRUPANSKY and RYAN, Circuit Judges, and EDWARD H. JOHNSTONE, Chief District Judge*.
      PER CURIAM.
    
    
      1
      Plaintiff-appellant, Ronald Phillips, has appealed from the decision of the district court granting summary judgment in favor of the Secretary of Health and Human Services (Secretary), denying Phillips's application for disability insurance benefits.   Upon review of the claimant's assignments of error, the record in its entirety, and the briefs of the parties, this court concludes that the Secretary's denial of disability benefits is supported by substantial evidence.
    
    
      2
      Accordingly, the summary judgment in favor of the Secretary is AFFIRMED for the reasons stated in the Magistrate's Report of June 20, 1988 as adopted by the district court on February 27, 1989.
    
    
      
        *
         Hon.  Edward H. Johnstone, Chief United States District Judge for the Western District of Kentucky, sitting by designation
      
    
    